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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA,

                         v.                               Case No. 21-cr-83 (TNM)

    BRANDON FELLOWS,

                         Defendant.

                                             ORDER

         Last August, a jury convicted Brandon Fellows of five counts related to his conduct on

January 6: (1) Obstruction of an Official Proceeding, and Aiding and Abetting, in violation of 18

U.S.C. §§ 1512(c)(2) and 2; (2) Entering and Remaining in a Restricted Building or Grounds, in

violation of 18 U.S.C. § 1752(a)(1); (3) Disorderly and Disruptive Conduct in a Restricted

Building or Grounds, in violation of 18 U.S.C. § 1752(a)(2); (4) Entering and Remaining in

Certain Rooms in the Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(C); and

(5) Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D). See

Verdict Form, ECF No. 146.

         Fellows now moves to stay his sentencing indefinitely and to be released pending the

Supreme Court’s decision in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023), cert.

granted, No. 23-5572 (S. Ct. 2023). See Def.’s Mot. Stay Sentencing 2–3, ECF No. 163-1;

Def.’s Reply at 11, ECF No. 168-1. 1 Both requests are meritless. Neither the grant of certiorari

in Fischer, nor Fellows’ desire for more preparation time, entitle Fellows to stay his February 29

sentencing. And his request for release pending Fischer is premature because he has not “filed




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    The Court’s page references correspond to the pagination generated by CM/ECF.
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an appeal or a petition for a writ of certiorari.” 18 U.S.C. § 3143(b). The Court addresses each

motion in turn.

                                                  I.

       Start with the stay motion. The Federal Rules generally require prompt sentencing

following a conviction. The instruction in Rule 32 is clear: “The court must impose sentence

without unnecessary delay.” Fed. R. Crim. P. 32(b)(1) (emphasis added). Good cause may

justify extending the gap between conviction and sentencing. Id. at 32(b)(2).

       Because Fellows requests an indefinite stay, the Government recommends evaluating

good cause through the lens of the stay factors in Nken v. Holder, 556 U.S. 418, 426 (2009). See

Gov’t Opp’n at 2, ECF No. 165. And Fellows addresses these factors in his reply without

suggesting an alternate standard. See Def.’s Reply at 14–17. So the Court proceeds under the

Nken framework and considers “(1) whether [Fellows] has made a strong showing that he is

likely to succeed on the merits; (2) whether [Fellows] will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” Id. (cleaned up). No factor favors a stay.

       First, the likelihood of success factor seems out of place. Fellows’ motion does not

challenge the merits of his § 1512(c)(2) conviction. See Def.’s Mot. at 1–2. If he wants to make

such a challenge, he may do so on direct or collateral review. Until then, the Court must

discharge Rule 32’s mandate to “impose [the] sentence without unnecessary delay.” Fed. R.

Crim. P. 32(b)(1).

       Second, Fellows will not be irreparably harmed absent a stay. He will simply be

sentenced for his offenses of conviction. If Fischer comes down in his favor, he may seek relief

at that time using the appropriate procedural vehicle. But the mere possibility of “[l]egal errors



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at sentencing” does not constitute irreparable harm. United States v. Jenkins, 50 F.4th 1185,

1200 (D.C. Cir. 2022). If such errors occur, “they may be corrected on direct review, including

through the retroactive application of intervening judicial decisions.” Id. And they may also “be

corrected on collateral review under section 2255.” Id.

       Nor is Fellows entitled to more time to prepare for sentencing or object to the presentence

report (“PSR”). He was convicted in August, and the Court originally set sentencing for

November 29. See Minute Order (Aug. 31, 2023). On that date, however, Fellows invoked his

right to counsel. So the Court appointed standby counsel and continued the sentencing to

February 29. See Minute Order (Dec. 13, 2023) (appointing standby counsel); Minute Order

(Jan. 29, 2024) (rescheduling sentencing). In terms of preparation, Fellows has had ample

time—over four months—to prepare and lodge objections to the PSR. Yet he let the deadline for

PSR objections pass without protest. See Minute Order (Dec. 13, 2023) (“Objections to the

Presentence Report due by 1/26/2024.”).

       Fellows says he stayed silent because technical issues have frustrated his ability to view

“discovery and or trial exhibits” “that the Government references” in the PSR. Def.’s Mot. at 3.

As an initial matter, “there is no general constitutional right to discovery in a criminal case,”

much less a right to access unspecified materials before sentencing. United States v. Bisong, 645

F.3d 384, 396 (D.C. Cir. 2011) (quoting United States v. Ruiz, 536 U.S. 622, 629 (2002))

(cleaned up). And even assuming such a right exists, Fellows has not shown “that he [is being]

prejudiced . . . by limitations on access to those materials and other government discovery.” Id.

at 386. His motion “vague[ly] speculat[es] that an open-ended review,” id. at 397, of discovery

materials and trial exhibits might help him “rebut” the PSR, Def.’s Mot. at 3. But that is too

weak a justification to continue Fellows’ sentencing a second time.



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       Still, to play it safe, the Court will permit Fellows to request specific documents from the

Government. And it will direct Government counsel and standby counsel to work together to

ensure that Fellows has a chance to review these documents before sentencing. See Bisong, 645

F.3d at 397 (no reversible error where “the district court ensured that standby counsel had access

and was getting Bisong the records he requested prior to trial”). This cautionary measure is not a

license for Fellows to go on a fishing expedition; his list of requested documents must be short

and specific. The Court has already instructed the Government to turn over all new materials

referenced in its sentencing memorandum and the PSR. And the Court reminds Fellows that he

must cooperate with standby counsel to resolve any lingering technological issues.

       One last observation on irreparable harm: Fellows may be harmed if the Court grants the

stay. A stay is generally “preventative, or protective; it seeks to maintain the status quo pending

a final determination of the merits of the suit.” Wash. Metro. Area Transit Comm’n v. Holiday

Tours, Inc., 559 F.2d 841, 844 (D.C. Cir. 1977). But the status quo does not favor Fellows. He

is incarcerated and has been since the Court revoked his pretrial release in July 2021. See

Minute Order (July 15, 2021). So denying the stay motion will bring Fellows a measure of

finality, one that may favor him given his entitlement to credit for time served. See 18 U.S.C.

§ 3585(b).

       Finally, the public interest weighs against staying the sentencing. See Nken, 556 U.S. at

435 (noting the third and fourth stay “factors merge when the Government is the opposing

party”). Delaying the sentencing for several months would undermine the public’s “strong

interest in the prompt, effective, and efficient administration of justice.” See United States v.

Burton, 584 F.2d 485, 489 (1978). Indeed, “the public’s interest in the dispensation of justice

that is not unreasonably delayed has great force.” Id.



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                                                  II.

          Next, Fellows asks to be released pending the Supreme Court’s resolution of Fischer.

See Def.’s Reply at 11 (“I’m seeking release from jail pending resolution of Fisher.”). Although

Fellows buries this request in his reply, the Court considers it anyway. Cf. Performance

Contracting, Inc. v. Rapid Response Constr., Inc., 267 F.R.D. 422, 425 (D.D.C. 2010) (“As a

general matter, it is improper for a party to raise new arguments in a reply brief because it

deprives the opposing party of an opportunity to respond to them, and courts may disregard any

such arguments.”).

          A defendant “who has filed an appeal or a petition for a writ of certiorari” may move for

release pending appeal. 18 U.S.C. § 3143(b). Fellows has not appealed or petitioned for

certiorari. So his motion for release is premature, a point confirmed by the authorities he cites.

See United States v. Adams, No. 21-cr-354 (D.D.C.) (Mehta, J.), ECF Nos. 71 (Notice of Appeal)

& 82 (Motion for Release Pending Appeal); United States v. Sheppard, No. 21-cr-203 (D.D.C.)

(Bates, J.), ECF Nos. 110 (Notice of Appeal) & 116 (Motion for Release Pending Appeal).

                                                 III.

          The law does not entitle Fellows to stay his sentencing indefinitely. And his motion for

release pending appeal is premature. For these reasons, it is hereby

          ORDERED that Fellows’ [163-1] Motion to Stay Sentencing is DENIED; and it is

further

          ORDERED that Fellows’ [168-1] Motion for Release from Custody Pending Appeal is

DENIED WITHOUT PREJUDICE; and it is further




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       ORDERED that Government counsel and standby counsel collaborate to ensure that

Fellows has access to documents he specifically requests before sentencing.

       SO ORDERED.
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Dated: February 23, 2024
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                                                    TREVOR N. McFADDEN, U.S.D.J.




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